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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
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                                  12    PAUL PERKINS, et al.,                               Case No. 13-CV-04303-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiffs,                          JUDGMENT
                                  14            v.

                                  15    LINKEDIN CORPORATION, et al.,
                                  16                    Defendants.
                                  17

                                  18          The Court hereby enters final judgment in this action as between Plaintiffs and the Class

                                  19   and Defendant LinkedIn Corporation (“Defendant”), as defined in Federal Rule of Civil Procedure

                                  20   58(a). Pursuant to this Final Judgment:

                                  21          1. All Released Claims of Plaintiffs and the Releasing Parties are hereby released as

                                  22   against Defendant and all other Released Parties as defined in the Settlement.

                                  23          2. The Court finds that the Class Members who have exercised their right to exclude

                                  24   themselves from this Action, by submitting timely requests for exclusion pursuant to the notice

                                  25   mailed to the Class, are not included in or bound by this order and final judgment. The excluded

                                  26   Class Members are listed in Exhibit 4 to the Declaration of Daniel Burke submitted with

                                  27   Plaintiffs’ Motion for Final Approval. See ECF No. 126-4.

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                                   1          3. Without affecting the finality of the Court’s judgment in any way, the Court retains

                                   2   jurisdiction over this matter for purposes of resolving issues relating to the interpretation,

                                   3   administration, implementation, effectuation, and enforcement of the Settlement.

                                   4          4. The parties and the Settlement Administrator are hereby ordered to comply with the

                                   5   terms of the Settlement.

                                   6          5. This action is dismissed with prejudice as against the Defendant, each side to bear its

                                   7   own costs and attorney’s fees except as provided by the Settlement and the Court’s orders.

                                   8          6. This document constitutes a final judgment and separate document for purposes of

                                   9   Federal Rule of Civil Procedure 58(a).

                                  10          7. The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of Civil

                                  11   Procedure, that this Final Judgment should be entered and that there is no just reason for delay in

                                  12   the entry of this Final Judgment as to Plaintiffs and the Class and Defendant. Accordingly, the
Northern District of California
 United States District Court




                                  13   Clerk is hereby directed to enter Judgment forthwith.

                                  14          8. The Clerk shall close the case file.

                                  15   IT IS SO ORDERED.

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                                  17   Dated: February 19, 2016

                                  18                                                     ______________________________________
                                                                                         LUCY H. KOH
                                  19                                                     United States District Judge
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                                       Case No. 13-CV-04303-LHK
                                       JUDGMENT
